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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE GOOGLE RTB CONSUMER                           Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   8
                                                                                             ORDER RE FEBRUARY 28, 2023
                                   9                                                         DISCOVERY DISPUTE RE TIME
                                                                                             SAMPLING
                                  10
                                                                                             Re: Dkt. No. 430
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs and defendant Google LLC (“Google”) ask the Court to resolve their dispute

                                  14   concerning the appropriate time periods to sample for Google’s production of the named

                                  15   plaintiffs’ data. Dkt. No. 430. The Court deems this matter suitable for resolution without oral

                                  16   argument. Civil L.R. 7-1(b).

                                  17          On December 16, 2022, the Court issued an order addressing the parties’ dispute about

                                  18   Google’s production of samples of the named plaintiffs’ data over the relevant class period. Dkt.

                                  19   No. 382. The Court’s order states in relevant part:

                                  20                  The Court accepts Google’s representations that for data sources that
                                                      require notice to ad customers, production of named plaintiff data
                                  21                  for the entire class period would impose an undue burden, and some
                                                      kind of sampling is appropriate. For data sources that do not require
                                  22                  notice to ad customers, the Court is not persuaded that production of
                                                      named plaintiff data for the entire class period would impose an
                                  23                  undue burden. For data sources that require notice to ad customers,
                                                      if Google wishes to rely on a sample of responsive data to satisfy its
                                  24                  obligations, it must take steps to ensure that the sample is
                                                      representative such that plaintiffs can rely on it in making the
                                  25                  arguments they wish to make for class certification. At the hearing,
                                                      the parties indicated that they had not considered or discussed
                                  26                  whether Google’s production was a representative sample. If a
                                                      dispute remains about Google’s time sampling, the parties must
                                  27                  confer on this point. At a minimum, Google must explain to
                                                      plaintiffs how it selected the six weeks it chose for production, and
                                  28                  if plaintiffs disagree about whether those six weeks are
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